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 7                       IN THE UNITED STATES DISTRICT COURT
 8                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9                                 WESTERN DIVISION
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11       NOMADIX, INC.,                            CASE NO. 2:19-cv-10202-DDP-E
12                   Plaintiff,                    [Hon. Dean D. Pregerson]
13                                                 ORDER ON STIPULATION
               v.
14                                                 FOR EXTENSION FOR
         SIA MIKROTĪKLS; MICROCOM                  DEFENDANT MICROCOM
15       TECHNOLOGIES, INC.; CREATIVE              TECHNOLOGIES, INC. TO
16       WIRELESS, INC.; and GLOBAL IT             RESPOND TO COMPLAINT
         COMMUNICATIONS, INC.,
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                     Defendants.
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     Case 2:19-cv-10202-DDP-E Document 32 Filed 06/15/20 Page 2 of 2 Page ID #:353




 1                                           ORDER
 2            Having read and considered the parties’ Stipulation to Extend Time for
 3      Microcom Technologies, Inc. to Respond to Complaint, and good cause appearing
 4      therefor, the Court hereby GRANTS the stipulation.            Defendant Microcom
 5      Technologies, Inc. shall have up to, and including, July 10, 2020 to file a response
 6      to the complaint in this action.
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 8      IT IS SO ORDERED.
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10      Date: June 15, 2020
                                                      Hon. Dean D. Pregerson
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                                                      United States District Judge
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